Case 17-10941-jkf    Doc 91         Filed 06/19/18 Entered 06/19/18 16:13:02                           Desc Main
                                    Document      Page 1 of 2




                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



    IN RE:                                                      Case No. 17-10941—sr

    SHARMIL MCKEE,                                    §
                                                                Chapter 7
                               Debtor                  5




                       '
                           f
                                f}
                               {2


                                    is
                                         xv"

                                               day%
                                                    Ordél‘i

                                                               r,      M     20%, upon consideration




     are in   ewempmmmWWWwweW
    "agggjggpcéﬁkefﬁEWwﬁg‘amoﬁﬁ                3M                   @mﬁmm/                         I



                                                                                               '


                                                                         Lﬁga’i   EEGS
                                                                                         $A¢
                                                                                                        I




                                               Mgamst Ichazm                             k




                                                       '5I f
                    Case 17-10941-jkf   Doc 91   Filed 06/19/18 Entered 06/19/18 16:13:02   Desc Main
                                                 Document      Page 2 of 2




23%§a§§5§§§§§i§§é
